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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------x

 MINGHAO YANG,
                                                                       Case No: 1:19-cv-4473
                                       Plaintiff,
                                                                       AFFIRMATION IN
         v.                                                            SUPPORT OF REQUEST
                                                                       FOR CERTIFICATE OF
 WU RESTAURANT LLC and YIJING WANG,                                    DEFAULT

                                     Defendants.
 ------------------------------------------------------------------x
STATE OF NEW YORK                  )
                                   )          ss.:
COUNTY OF QUEENS                   )

BAYA WHITMAN HARRISON IV, an attorney duly admitted to practice in New York and in

this Court, affirms on penalty of perjury pursuant to 28 U.S.C. § 1746 as follows:

        1.       I am a member of the Bar of this Court and I am associated with the firm The

Harrison Law Firm, P.C., attorney for Plaintiff MINGHAO YANG (the “Plaintiff”) in the

above-entitled action. I am familiar with all the facts and circumstances in this action. I submit

this affirmation in support of Plaintiff’s application pursuant to Fed. R. Civ. P. 55(a) and Local

Rule 55.1 for a Certificate of Default against the Defendant WU RESTAURANT LLC for failure

to appear in this action.

        2.       This action was commenced pursuant to the Fair Labor Standards Act (FLSA) and

New York Labor Law (NYLL).




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        3.       This action was commenced on August 4, 2019 by the filing of the summons and

complaint.

        4.       A copy of the summons and complaint was served on Defendant WU

RESTAURANT LLC by personally serving the Secretary of State of New York pursuant to

Section 306 of the New York Business Corporation Law at 99 Washington Avenue, Albany, NY

12210 on August 9, 2019. The affidavit of service was filed in this action on August 23, 2019.

(Doc. No. 009). WU RESTAURANT LLC’s deadline to answer or move was August 30, 2019.

        5.       The time for Defendant WU RESTAURANT LLC to answer or otherwise move

with respect to the complaint herein has expired.

        6.       Defendant WU RESTAURANT LLC has not answered or otherwise moved with

respect to the complaint.

        7.       Upon information and belief, and as it appears from facts in this litigation,

Defendant WU RESTAURANT LLC is not an infant, mentally incompetent, or presently in the

military service of the United States.

        8.       This is an action to recover unpaid overtime wages under the Fair Labor

Standards Act owed by Defendants, jointly and severally, to Plaintiff. Plaintiff also alleges

unpaid overtime wages and failure to provide statutorily-required notices and wage statements in

violation of the New York Labor Law.

        9.       Jurisdiction of the subject matter of this action is based on federal question

jurisdiction and supplemental jurisdiction of the related state-law claims.




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        WHEREFORE, Plaintiff MINGHAO YANG request that the default of Defendant WU

RESTAURANT LLC be noted and a certificate of default be issued.

        I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge, information, and belief, that the amount claimed is justly due to Plaintiff, and that no

part thereof has been paid.


Dated: Flushing, New York
       August 31, 2019
                                                       Respectfully submitted,
                                                       The Harrison Law Firm P.C.

                                                       By: ​Baya W. Harrison
                                                       Baya W. Harrison, Esq. (5678610)
                                                       The Harrison Law Firm P.C.
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                                                       Attorney for Plaintiff




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